              Case 23-31549-jal               Doc 1       Filed 07/04/23           Entered 07/04/23 13:22:56                   Page 1 of 34


Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF KENTUCKY, LOUISVILLE DIVISION

Case number (if known)                                                     Chapter       7
                                                                                                                            Check if this an amended
                                                                                                                             filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Kneeworx Medical Services LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  14505 MIcawber Way                                             14505 Micawber Way
                                  Louisville, KY 40245                                           Louisville, KY 40245-4075
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Jefferson                                                      Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 3010 Eastpoint Pkwy Louisville, KY 40223-4185
                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       Kneeworx.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
              Case 23-31549-jal                 Doc 1          Filed 07/04/23             Entered 07/04/23 13:22:56                       Page 2 of 34
Debtor    Kneeworx Medical Services LLC                                                                Case number ( if known )
          Name


7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                     Chapter 7
     A debtor who is a “ small            Chapter 9
     business debtor”must check
     the first sub-box. A debtor as
                                          Chapter 11. Check all that apply:
     defined in § 1182(1) who                                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of operations,
     (whether or not the debtor is a                             cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
     “small business debtor” ) must                              procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
                                                                 (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
                                                                 under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                 sheet, statement of operations, cash-flow statement, and federal income tax return, or if any of these
                                                                 documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                 Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy
     cases filed by or against the
                                       No.
     debtor within the last 8           Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                                    Case number
                                                District                                  When                                    Case number




Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 2
               Case 23-31549-jal                     Doc 1         Filed 07/04/23             Entered 07/04/23 13:22:56                       Page 3 of 34
Debtor    Kneeworx Medical Services LLC                                                                     Case number ( if known )
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                           No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                        Relationship
                                                     District                                  When                                Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                       No
                                                    Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                     Other
                                                    Where is the property?
                                                                                      Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                     No
                                                     Yes.      Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .        Check one:
    available funds
                                                 Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                1-49                                               1,000-5,000                                  25,001-50,000
    creditors                                                                              5001-10,000                                  50,001-100,000
                                        50-99
                                        100-199                                           10,001-25,000                                More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                      $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                        $50,001 - $100,000                                $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                               $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                       $500,001 - $1 million                              $100,000,001 - $500 million                  More than $50 billion

16. Estimated liabilities               $0 - $50,000                                      $1,000,001 - $10 million                     $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                        page 3
             Case 23-31549-jal         Doc 1          Filed 07/04/23      Entered 07/04/23 13:22:56                    Page 4 of 34
Debtor   Kneeworx Medical Services LLC                                                 Case number ( if known )
         Name

                             $50,001 - $100,000                        $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                            $100,001 - $500,000                        $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                             $500,001 - $1 million                     $100,000,001 - $500 million               More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 4
              Case 23-31549-jal               Doc 1         Filed 07/04/23              Entered 07/04/23 13:22:56                        Page 5 of 34
Debtor    Kneeworx Medical Services LLC                                                                   Case number ( if known )
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       June 30, 2023
                                                    MM / DD / YYYY


                              X   /s/ Maceo Camillo Ramon Jourdan                                                Maceo Camillo Ramon Jourdan
                                  Signature of authorized representative of debtor                               Printed name

                                  Title   President




18. Signature of attorney     X   /s/ Nick C. Thompson                                                             Date June 30, 2023
                                  Signature of attorney for debtor                                                      MM / DD / YYYY

                                  Nick C. Thompson ~83381 KY
                                  Printed name

                                  Nick C. Thompson Bankruptcy Attorney
                                  Firm name


                                  800 Stone Creek Pkwy Ste 6
                                  Louisville, KY 40223-5366
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      (502) 625-0905                  Email address         Bankruptcy@Bankruptcy-Divorce.com

                                  83381 KY
                                  Bar number and State




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 5
                 Case 23-31549-jal                    Doc 1        Filed 07/04/23             Entered 07/04/23 13:22:56                            Page 6 of 34


        Fill in this information to identify the case:
 Debtor name Kneeworx Medical Services LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                     Check if this is an
                                               KENTUCKY, LOUISVILLE
                                               DIVISION
 Case number (if known):                                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and            Name, telephone number Nature of claim                 Indicate if claim   Amount of claim
 complete mailing address,       and email address of   (for example, trade debts,       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact       bank loans, professional        unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                        services, and government            disputed        value of collateral or setoff to calculate unsecured claim.
                                                        contracts)                                          Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 Audrey Burton                                                                                                                                                                $505.24
 7310 Hibernia Rd
 Charlestown, IN
 47111-9489
 Bioventus                                                                                                                                                                $10,075.00
 4721 Emperor Blvd
 Ste 100
 Durham, NC
 27703-8580
 Capital Solutions                                                                                                                                                        $64,012.00
 Bancorp
 12761 World Plaza Ln
 Ft. Meyers, FL 33907
 Charity Sharp                                                                                                                                                              $1,109.51
 3161 Taylor Dr
 Clarksville, IN
 47129-1438
 Chase                                                                                                                                                                    $21,317.00
 P.O. Box 6294
 Carol Stream, IL
 60197
 Iheart Media                                                                                                                                                             $27,149.85
 20880 Stone Oak
 Pkwy
 San Antonio, TX
 78258-7460
 Kimberly Edwards                                                                      Contingent                                                                           $2,692.31
 11709 Cortner Rd                                                                      Disputed
 Marysville, IN                                                                        Subject to
 47141-9675                                                                            Setoff
 McKesson Medical                                                                                                     $19,742.61                $36,400.00                $19,742.61
 2 National Data Plaza
 NE, 3rd Floor
 Atlanta, GA 30329




Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                 Case 23-31549-jal                    Doc 1        Filed 07/04/23             Entered 07/04/23 13:22:56                            Page 7 of 34



 Debtor    Kneeworx Medical Services LLC                                                                     Case number (if known)
           Name

 Name of creditor and            Name, telephone number Nature of claim                 Indicate if claim   Amount of claim
 complete mailing address,       and email address of   (for example, trade debts,       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact       bank loans, professional        unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                        services, and government            disputed        value of collateral or setoff to calculate unsecured claim.
                                                        contracts)                                          Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 Medline                                                                                                                                                                    $1,354.28
 3 Lakes Dr
 Northfield, IL
 60093-2753
 North Star Leasing              Office equipment                                                                     $89,385.00                $36,400.00                $52,985.00
 P.O. Box 4505
 Burlington, VT 05406
 Spectrum                                                                                                                                                                     $586.35
 300 S. Tryon Street
 Suite 200
 Charlotte, NC 28202
 Susan Scuffle                                                                                                                                                              $4,038.46
 206 Beechwood Cir
 Mount Washington,
 KY 40047-7250
 The Five Star Group                                                                   Contingent                                                                         $16,000.00
 10403 Coachouse Pl                                                                    Disputed
 Louisville, KY                                                                        Subject to
 40223-3439                                                                            Setoff
 US Bank                                                                                                                                                                  $21,245.00
 P.O. Box 790408
 St. Louis, MO 63179




Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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            Case 23-31549-jal                    Doc 1         Filed 07/04/23             Entered 07/04/23 13:22:56                    Page 8 of 34




           Fill in this information to identify the case:

 Debtor name        Kneeworx Medical Services LLC

 United States Bankruptcy Court for the:           WESTERN DISTRICT OF KENTUCKY, LOUISVILLE DIVISION

 Case number (if known)
                                                                                                                                         Check if this is an
                                                                                                                                          amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                        04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
the debtor’
          s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’
                                                            s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                           Check all that apply                        (before deductions and
                                                                                                                                          exclusions)

       From the beginning of the fiscal year to filing date:                                  Operating a business                                             $0.00
       From 1/01/2023 to Filing Date                                                                       180,000 expenses
                                                                                               Other      210,000


       For prior year:                                                                        Operating a business                                             $0.00
       From 1/01/2022 to 12/31/2022                                                                        585,000 net losss of
                                                                                               Other      34,000

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
   royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                              Description of sources of revenue           Gross revenue from
                                                                                                                                          each source
                                                                                                                                          (before deductions and
                                                                                                                                          exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before filing this
   case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years
   after that with respect to cases filed on or after the date of adjustment.)

      None.
       Creditor's Name and Address                                        Dates                  Total amount of value        Reasons for payment or transfer
                                                                                                                              Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
   cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
   adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
   Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their



Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1

Software Copyright (c) 2023 CINGroup - www.cincompass.com
              Case 23-31549-jal                  Doc 1         Filed 07/04/23             Entered 07/04/23 13:22:56                       Page 9 of 34
 Debtor       Kneeworx Medical Services LLC                                                             Case number (if known)



    relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
       Insider's name and address                                         Dates                  Total amount of value          Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
   foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
       Creditor's name and address                           Describe of the Property                                         Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
   debtor without permission or refused to make a payment at the debtor’       s direction from an account of the debtor because the debtor owed a debt.

      None
       Creditor's name and address                           Description of the action creditor took                          Date action was                  Amount
                                                                                                                              taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
   capacity—within 1 year before filing this case.

       None.
               Case title                                     Nature of case              Court or agency's name and                 Status of case
               Case number                                                                address
       7.1.    Sara Miller v Kneeworx medical                 Claim for breach of         Jefferson Circuit                             Pending
               services, LLC and Canexxia                     contract                    600 West Jefferson Street                     On appeal
               Equity Partners LLC                                                        Louisville 40202                              Concluded
               23-CI-003017

       7.2.    No case number unpaid wages                                                Kentucky Labor Cabinet                      Pending
                                                                                          500 Mero St # 4-SC                            On appeal
                                                                                          Frankfort, KY 40601-1987
                                                                                                                                        Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None
       Custodian's name and Address                          Describe the property                                                       Value

                                                                                                                                                                 $0.00

                                                             Case title                                                                  Court name and address

                                                             Case number

                                                             Date of order or assignment




 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the
   gifts to that recipient is less than $1,000
Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2

Software Copyright (c) 2023 CINGroup - www.cincompass.com
           Case 23-31549-jal                    Doc 1         Filed 07/04/23             Entered 07/04/23 13:22:56                       Page 10 of 34
 Debtor        Kneeworx Medical Services LLC                                                            Case number (if known)




      None
                Recipient's name and address                  Description of the gifts or contributions                  Dates given                          Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
       Description of the property lost and how              Amount of payments received for the loss                    Dates of loss          Value of property
       the loss occurred                                                                                                                                     lost
                                                             If you have received payments to cover the loss, for
                                                             example, from insurance, government compensation, or
                                                             tort liability, list the total received.

                                                             List unpaid claims on Official Form 106A/B (Schedule
                                                             A/B: Assets –Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
    case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing
    a bankruptcy case.

       None.
                 Who was paid or who received the               If not money, describe any property transferred               Dates               Total amount or
                 transfer?                                                                                                                                 value
                 Address
       11.1.     Nick Thompson
                 800 Stone Creek Pkwy Ste 6
                 Louisville, KY 40223-5366                                                                                    6-30-2023                  $5,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
    self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
       Name of trust or device                                  Describe any property transferred                     Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within 2
    years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
    outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
                Who received transfer?                        Description of property transferred or                     Date transfer was        Total amount or
                Address                                       payments received or debts paid in exchange                made                              value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3

Software Copyright (c) 2023 CINGroup - www.cincompass.com
            Case 23-31549-jal                   Doc 1         Filed 07/04/23             Entered 07/04/23 13:22:56                   Page 11 of 34
 Debtor        Kneeworx Medical Services LLC                                                            Case number (if known)




       Does not apply
                 Address                                                                                                  Dates of occupancy
                                                                                                                          From-To
       14.1.     4545 E. Enrose St.                                                                                       11/2018 - 12/2020
                 Mesa, AZ 85235

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.

                 Facility name and address                    Nature of the business operation, including type of services the           If debtor provides meals
                                                              debtor provides                                                            and housing, number of
                                                                                                                                         patients in debtor’
                                                                                                                                                           s care
       15.1.     Kneeworx Medical Services                    Injections for artritis under aprn supervision                             680 per year
                 LLC
                                                              Location where patient records are maintained (if different from           How are records kept?
                                                              facility address). If electronic, identify any service provider.
                                                                                                                                         Check all that apply:

                                                                                                                                         Electronically
                                                                                                                                         Paper

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.



                  Does the debtor have a privacy policy about that information?
                   No
                  Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’
                                                                                                        s name, or for the debtor’
                                                                                                                                 s benefit, closed, sold, moved,
    or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
                 Financial Institution name and               Last 4 digits of           Type of account or           Date account was          Last balance before
                 Address                                      account number             instrument                   closed, sold,              closing or transfer
                                                                                                                      moved, or
                                                                                                                      transferred

Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 4

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            Case 23-31549-jal                   Doc 1         Filed 07/04/23             Entered 07/04/23 13:22:56                    Page 12 of 34
 Debtor      Kneeworx Medical Services LLC                                                              Case number (if known)



19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.


      None
       Depository institution name and address                     Names of anyone with access            Description of the contents              Does debtor still
                                                                   to it                                                                           have it?
                                                                   Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which
    the debtor does business.


      None
       Facility name and address                                   Names of anyone with access            Description of the contents              Does debtor still
                                                                   to it                                                                           have it?


 Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
    leased or rented property.

    None

 Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
      Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
      affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned,
      operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
      harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

       Case title                                                  Court or agency name and               Nature of the case                       Status of case
       Case number                                                 address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

       Site name and address                                       Governmental unit name and                 Environmental law, if known          Date of notice
                                                                   address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5

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            Case 23-31549-jal                   Doc 1         Filed 07/04/23             Entered 07/04/23 13:22:56                       Page 13 of 34
 Debtor      Kneeworx Medical Services LLC                                                              Case number (if known)



       Site name and address                                       Governmental unit name and                 Environmental law, if known              Date of notice
                                                                   address

 Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                   Describe the nature of the business               Employer Identification number
                                                                                                              Do not include Social Security number or ITIN.

                                                                                                              Dates business existed
    25.1.                                                   Medical services                                  EIN:
             Kneeworx Medical Services
             LLC
             3010 Eastpoint Parkway                                                                           From-To      08/18/2021, 03/30/2023
             Louisville, KY 40223


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’
                                                                       s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                       Date of service
                                                                                                                                              From-To
       26a.1.       800 Accountant
                    260 Madison Ave Ste 1001
                    New York, NY 10016-2400

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’
                                                                                     s books of account and records or prepared a financial statement within 2
         years before filing this case.

             None
       Name and address                                                                                                                       Date of service
                                                                                                                                              From-To
       26b.1.       800 Accountant
                    260 Madison Ave Ste 1001
                    New York, NY 10016-2400

    26c. List all firms or individuals who were in possession of the debtor’
                                                                           s books of account and records when this case is filed.

            None
       Name and address                                                                                     If any books of account and records are unavailable,
                                                                                                            explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
         within 2 years before filing this case.

             None
       Name and address
       26d.1.       North Star Leasing
                    P.O. Box 4505
                    Burlington, VT 05406
       26d.2.       Fora Financial AS 2, LLC
                    1385 Broadway
                    New York, NY 10018

27. Inventories
    Have any inventories of the debtor’
                                      s property been taken within 2 years before filing this case?
Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6

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          Case 23-31549-jal                     Doc 1         Filed 07/04/23             Entered 07/04/23 13:22:56                    Page 14 of 34
 Debtor       Kneeworx Medical Services LLC                                                             Case number (if known)




           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1
       .

               Name and address of the person who has possession of
               inventory records
               No inventory exists



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
    control of the debtor at the time of the filing of this case.

       Name                                         Address                                               Position and nature of any interest    % of interest, if
                                                                                                                                                 any
       Maceo Camillo Ramon                          14505 Micawber Way
       Jourdan                                      Louisville, KY 40245-4075



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
    of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
    credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

               Name and address of recipient                  Amount of money or description and value of                Dates              Reason for providing
                                                              property                                                                      the value
       30.1                                                                                                                                 Took a Salary draw
       .                                                                                                                                    that month to pay
                                                                                                                                            his rent. He was
                                                                                                                                            medically unable to
                                                                                                                                            work that month.
                                                                                                                                            Otherwise he lived
                                                                                                                                            on savings while the
               Maceo Jourdan                                                                                                                business continued
               145005 Micawber Way                                                                                                          to take losses last
               Louisville, KY 40201                           2400 salary draw                                           March 2023         year.

               Relationship to debtor
               President


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

    Name of the parent corporation                                                                            Employer Identification number of the parent
                                                                                                              corporation

Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7

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            Case 23-31549-jal                   Doc 1         Filed 07/04/23             Entered 07/04/23 13:22:56                  Page 15 of 34
 Debtor      Kneeworx Medical Services LLC                                                              Case number (if known)



32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

    Name of the pension fund                                                                                  Employer Identification number of the pension
                                                                                                              fund

 Part 14:    Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection
      with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in thisStatement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
      correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on        June 30, 2023

 /s/ Maceo Camillo Ramon Jourdan                                       Maceo Camillo Ramon Jourdan
 Signature of individual signing on behalf of the debtor               Printed name

 Position or relationship to debtor        President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
No
 Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8

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           Case 23-31549-jal                    Doc 1        Filed 07/04/23         Entered 07/04/23 13:22:56           Page 16 of 34

           Fill in this information to identify the case:

 Debtor name        Kneeworx Medical Services LLC

 United States Bankruptcy Court for the:           WESTERN DISTRICT OF KENTUCKY, LOUISVILLE DIVISION

 Case number (if known)
                                                                                                                           Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’ s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:       Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

    No.     Go to Part 2.
     Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                          Current value of
                                                                                                                            debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

    No.     Go to Part 3.
     Yes Fill in the information below.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

     No.    Go to Part 4.
    Yes Fill in the information below.
 11.       Accounts receivable


           11b. Over 90 days old:                             175,000.00   -                          75,000.00 =....                   $100,000.00
                                             face amount                       doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                         $100,000.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

    No.     Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?


Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                      page 1
Software Copyright (c) 2023 CINGroup - www.cincompass.com
           Case 23-31549-jal                    Doc 1        Filed 07/04/23         Entered 07/04/23 13:22:56                Page 17 of 34

 Debtor         Kneeworx Medical Services LLC                                                 Case number (If known)
                Name


    No.     Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
    Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 28.       Crops-either planted or harvested

 29.       Farm animals Examples: Livestock, poultry, farm-raised fish

 30.       Farm machinery and equipment (Other than titled motor vehicles)

 31.       Farm and fishing supplies, chemicals, and feed

 32.       Other farming and fishing-related property not already listed in Part 6

 33.       Total of Part 6.                                                                                                                  $0.00
           Add lines 28 through 32. Copy the total to line 85.

 34.       Is the debtor a member of an agricultural cooperative?
           No
            Yes.     Is any of the debtor's property stored at the cooperative?
                         No
                         Yes
 35.       Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
           No
            Yes. Book value                                    Valuation method                          Current Value

 36.       Is a depreciation schedule available for any of the property listed in Part 6?
           No
            Yes
 37.       Has any of the property listed in Part 6 been appraised by a professional within the last year?
           No
            Yes
 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
    Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software




Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                    page 2
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            Case 23-31549-jal                   Doc 1        Filed 07/04/23           Entered 07/04/23 13:22:56           Page 18 of 34

 Debtor         Kneeworx Medical Services LLC                                                    Case number (If known)
                Name

            Office Furniture and equipment: Mobile DI mini
            C-arm, exam chairs
            UCC was filed by Nort Star Leasing and McKeeson
            Medical                                                                      $30,000.00                                 $30,000.00


            Electronics: Computers, IP phones                                             $1,400.00                                  $1,400.00


            Non-class III drugs, medical supplies, office
            supplies                                                                      $5,000.00                                  $5,000.00



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork; books,
            pictures, or other art objects; china and crystal; stamp, coin, or baseball card collections;
            other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                        $36,400.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
            No
             Yes
 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
             Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No.     Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

    No.     Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No.     Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No.     Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                              page 3
Software Copyright (c) 2023 CINGroup - www.cincompass.com
            Case 23-31549-jal                         Doc 1            Filed 07/04/23                    Entered 07/04/23 13:22:56                        Page 19 of 34

 Debtor           Kneeworx Medical Services LLC                                                                        Case number (If known)
                  Name



 Part 12:         Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                                Current value of                      Current value of real
                                                                                                      personal property                     property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                        $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                             $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                       $100,000.00

 83. Investments. Copy line 17, Part 4.                                                                                         $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                           $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                                  $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                              $36,400.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                                  $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                   $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                              $0.00

 90. All other assets. Copy line 78, Part 11.                                                     +                             $0.00

 91. Total. Add lines 80 through 90 for each column                                                               $136,400.00           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                     $136,400.00




Official Form 206A/B                                                Schedule A/B Assets - Real and Personal Property                                                         page 4
Software Copyright (c) 2023 CINGroup - www.cincompass.com
           Case 23-31549-jal                       Doc 1        Filed 07/04/23                Entered 07/04/23 13:22:56                Page 20 of 34

           Fill in this information to identify the case:

 Debtor name          Kneeworx Medical Services LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF KENTUCKY, LOUISVILLE DIVISION

 Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    McKesson Medical                              Describe debtor's property that is subject to a lien                    $19,742.61               $36,400.00
        Creditor's Name                               All assets of the Debtor, wherever located and
                                                      whether now or hereafter existing and whether
                                                      now owned or hereafter acquired, of every kind
        2 National Data Plaza NE, 3rd                 and description, tangible or intangible, including
        Floor                                         without limitation all accessions thereto and a
        Atlanta, GA 30329
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                      No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                        No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        3309
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
        Yes. Specify each creditor,                   Unliquidated
        including this creditor and its relative       Disputed
        priority.
        1. North Star Leasing
        2. McKesson Medical

 2.2    North Star Leasing                            Describe debtor's property that is subject to a lien                    $89,385.00               $36,400.00
        Creditor's Name                               1) Orthoscan Moble DI - Digital
                                                      X-Ray/Fluoroscopy Combination w/ 20% KVP
                                                      boost feature Ultra-high resolution 2k x 1.5k HD
                                                      imaging chain, SN: 5M0350 1) Mediluxe
                                                      Rx4-2000 Surgical Procedure Chair 10)
        P.O. Box 4505                                 OAide3000 unloading knee brace with suspen
        Burlington, VT 05406
        Creditor's mailing address                    Describe the lien
                                                      1) Orthoscan Moble DI - Digital
                                                      X-Ray/Fluoroscopy Combination w/ 20% KVP
                                                      boost f
                                                      Is the creditor an insider or related party?
                                                      No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?

Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 2
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           Case 23-31549-jal                      Doc 1       Filed 07/04/23                Entered 07/04/23 13:22:56                  Page 21 of 34

 Debtor      Kneeworx Medical Services LLC                                                          Case number (if known)
             Name

       Date debt was incurred                       No
       02/16/2023                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
       Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative      Disputed
       priority.
       1. North Star Leasing
       2. McKesson Medical

 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.             $109,127.61

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you    Last 4 digits of
                                                                                                               enter the related creditor?        account number for
                                                                                                                                                  this entity




Official Form 206D                   Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                            page 2 of 2
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            Case 23-31549-jal                   Doc 1         Filed 07/04/23               Entered 07/04/23 13:22:56                                Page 22 of 34

    Fill in this information to identify the case:

 Debtor name         Kneeworx Medical Services LLC

 United States Bankruptcy Court for the:           WESTERN DISTRICT OF KENTUCKY, LOUISVILLE DIVISION

 Case number (if known)
                                                                                                                                                       Check if this is an
                                                                                                                                                        amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims . If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim

 3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                        $505.24
           Audrey Burton                                                       Contingent
                                                                               Unliquidated
           7310 Hibernia Rd                                                    Disputed
           Charlestown, IN 47111-9489
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?   No  Yes
 3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $10,075.00
           Bioventus                                                           Contingent
                                                                               Unliquidated
           4721 Emperor Blvd Ste 100                                           Disputed
           Durham, NC 27703-8580
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?   No  Yes
 3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $64,012.00
           Capital Solutions Bancorp                                           Contingent
                                                                               Unliquidated
           12761 World Plaza Ln                                                Disputed
           Ft. Meyers, FL 33907
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?   No  Yes
 3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1,109.51
           Charity Sharp                                                       Contingent
                                                                               Unliquidated
           3161 Taylor Dr                                                      Disputed
           Clarksville, IN 47129-1438
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?   No  Yes




Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 3
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          Case 23-31549-jal                     Doc 1         Filed 07/04/23            Entered 07/04/23 13:22:56                                Page 23 of 34

 Debtor      Kneeworx Medical Services LLC                                                           Case number (if known)
             Name

 3.5      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $21,317.00
          Chase                                                             Contingent
                                                                            Unliquidated
          P.O. Box 6294                                                     Disputed
          Carol Stream, IL 60197
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1272                        Is the claim subject to offset?   No  Yes
 3.6      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $27,149.85
          Iheart Media                                                      Contingent
                                                                            Unliquidated
          20880 Stone Oak Pkwy                                              Disputed
          San Antonio, TX 78258-7460
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.7      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $2,692.31
          Kimberly Edwards                                                 Contingent
                                                                            Unliquidated
          11709 Cortner Rd
          Marysville, IN 47141-9675                                        Disputed
          Date(s) debt was incurred                                        Basis for the claim:

          Last 4 digits of account number                                  Is the claim subject to offset?    No Yes
 3.8      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $1,354.28
          Medline                                                           Contingent
                                                                            Unliquidated
          3 Lakes Dr                                                        Disputed
          Northfield, IL 60093-2753
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.9      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $586.35
          Spectrum                                                          Contingent
                                                                            Unliquidated
          300 S. Tryon Street Suite 200                                     Disputed
          Charlotte, NC 28202
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.10     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $4,038.46
          Susan Scuffle                                                     Contingent
                                                                            Unliquidated
          206 Beechwood Cir                                                 Disputed
          Mount Washington, KY 40047-7250
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.11     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $16,000.00
          The Five Star Group                                              Contingent
                                                                            Unliquidated
          10403 Coachouse Pl
          Louisville, KY 40223-3439                                        Disputed
          Date(s) debt was incurred                                        Basis for the claim:

          Last 4 digits of account number                                  Is the claim subject to offset?    No Yes




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 3
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           Case 23-31549-jal                    Doc 1         Filed 07/04/23            Entered 07/04/23 13:22:56                                Page 24 of 34

 Debtor       Kneeworx Medical Services LLC                                                          Case number (if known)
              Name

 3.12      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                   $21,245.00
           US Bank                                                          Contingent
                                                                            Unliquidated
           P.O. Box 790408                                                  Disputed
           St. Louis, MO 63179
                                                                           Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number     1577                        Is the claim subject to offset?   No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees
   of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                 On which line in Part1 or Part 2 is the             Last 4 digits of
                                                                                                    related creditor (if any) listed?                   account number, if
                                                                                                                                                        any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
 5a. Total claims from Part 1                                                                          5a.        $                              0.00
 5b. Total claims from Part 2                                                                          5b.    +   $                        170,085.00
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                               5c.        $                              170,085.00




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 3
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          Case 23-31549-jal                     Doc 1           Filed 07/04/23           Entered 07/04/23 13:22:56               Page 25 of 34

          Fill in this information to identify the case:

 Debtor name        Kneeworx Medical Services LLC

 United States Bankruptcy Court for the:           WESTERN DISTRICT OF KENTUCKY, LOUISVILLE DIVISION

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                     amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
    Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal      Property (Official
Form 206A/B).

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

 2.1.        State what the contract or                     Lease of business office
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                           Galpern and Hobbs LLC
               List the contract number of                                                 3012 Eastpoint Pkwy
                any government contract                                                    Louisville, KY 40223-4185




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
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          Case 23-31549-jal                     Doc 1       Filed 07/04/23     Entered 07/04/23 13:22:56                  Page 26 of 34

          Fill in this information to identify the case:

 Debtor name        Kneeworx Medical Services LLC

 United States Bankruptcy Court for the:           WESTERN DISTRICT OF KENTUCKY, LOUISVILLE DIVISION

 Case number (if known)
                                                                                                                              Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
      Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
      creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                          Column 2: Creditor


              Name                            Mailing Address                                   Name                            Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                              Street                                                                            E/F
                                                                                                                               G
                                              City                State      Zip Code


    2.2                                                                                                                        D
                                              Street                                                                            E/F
                                                                                                                               G
                                              City                State      Zip Code


    2.3                                                                                                                        D
                                              Street                                                                            E/F
                                                                                                                               G
                                              City                State      Zip Code


    2.4                                                                                                                        D
                                              Street                                                                            E/F
                                                                                                                               G
                                              City                State      Zip Code




Official Form 206H                                                        Schedule H: Your Codebtors                                        Page 1 of 1
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           Case 23-31549-jal                                Doc 1              Filed 07/04/23                         Entered 07/04/23 13:22:56                                    Page 27 of 34

            Fill in this information to identify the case:

 Debtor name            Kneeworx Medical Services LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF KENTUCKY, LOUISVILLE DIVISION

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 fromSchedule A/B.............................................................................................................................                    $                    0.00

       1b. Total personal property:
           Copy line 91A fromSchedule A/B.........................................................................................................................                       $            439,717.17

       1c. Total of all property:
           Copy line 92 fromSchedule A/B...........................................................................................................................                      $            439,717.17


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A,Amount of claim, from line 3 of Schedule D....................................                                                    $            109,127.61


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a ofSchedule E/F..........................................................................                                       $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of
                                                                           Schedule E/F................................................                                                 +$            170,085.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $              279,212.61




 Official Form 206Sum                                               Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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         Case 23-31549-jal                 Doc 1         Filed 07/04/23            Entered 07/04/23 13:22:56                     Page 28 of 34




    Fill in this information to identify the case:

Debtor name       Kneeworx Medical Services LLC

United States Bankruptcy Court for the:      WESTERN DISTRICT OF KENTUCKY, LOUISVILLE DIVISION

Case number (if known)
                                                                                                                                     Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’     s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
      serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property(Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 30, 2023                     X /s/ Maceo Camillo Ramon Jourdan
                                                             Signature of individual signing on behalf of debtor

                                                              Maceo Camillo Ramon Jourdan
                                                              Printed name

                                                              President
                                                              Position or relationship to debtor
            Case 23-31549-jal                   Doc 1       Filed 07/04/23       Entered 07/04/23 13:22:56                    Page 29 of 34
B2030 (Form 2030) (12/15)
                                                             United States Bankruptcy Court
                                                     Western District of Kentucky, Louisville Division
 In re       Kneeworx Medical Services LLC                                                                   Case No.
                                                                             Debtor(s)                       Chapter      7

                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $                    5,000.00
             Prior to the filing of this statement I have received                                       $                    5,000.00
             Balance Due                                                                                 $                        0.00

2.     The source of the compensation paid to me was:
                   Debtor          Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor          Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
            firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Debtor’  s counsel is prohibited by 11 U.S.C. §362 and 11 U.S.C. §524 from requesting, in any manner, payment of any
                 unpaid prepetition legal fees, and debtor ’    s counsel may only accept any debtor’    s voluntary payment after entry of discharge.

                    THIS AGREEMENT is for an uncontested busienss bankruptcy. The fee is 5000 dollars for a Small busines corporate
                    Chapter 7 petition. CLIENT shall pay, all court costs and expenses incidental to representation including travel expenses.
                    CLIENT agrees to make prompt payment. Court costs expenses and collection fees including attorney fees and bank fees
                    assessed should client default in payment or checks are returned. Additional fees are charged for post-petition work,
                    including any deposition, 2004 examination, adversary proceeding, appeal, redemption, or motion to avoid a lien. Charges
                    are based on hours worked at 250 per hour for office work and 350 in court if such services are performed. If a case
                    becomes contested, additional fees apply.

                    The client hereby certifies that he has reviewed the petition, its accuracy and exit letter that explains bankruptcy and the
                    client's rights and responsibilities. It is the client's responsibility to list all of the assets and debts, and to co-operate with
                    the trustee including delivering to the trustee any required documentation. The client states that he has disclosed herein
                    all of his assets and or transfers of any assets within the last two years including any fraudulent or preferential transfers
                    and pending lawsuits. The meaning of preferential and fraudulent transfers which is any non-contemporaneous transfer for
                    less than reasonable value has been explained. Attorney fees are not refundable after work is performed.

                    ___/s/__________________
                    Debtor(s).

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Contested matters such as motions to strip liens, mortgages or redeem property. Adversary proceedings, depositions or
               2004 examinations are at an additiional cost.




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          Case 23-31549-jal                     Doc 1        Filed 07/04/23     Entered 07/04/23 13:22:56               Page 30 of 34

 In re       Kneeworx Medical Services LLC                                                          Case No.
                                                            Debtor(s)

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                              (Continuation Sheet)
                                                                        CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     June 30, 2023                                                           /s/ Nick C. Thompson
     Date                                                                    Nick C. Thompson ~83381 KY
                                                                             Signature of Attorney
                                                                             Nick C. Thompson Bankruptcy Attorney

                                                                             800 Stone Creek Pkwy Ste 6
                                                                             Louisville, KY 40223-5366
                                                                             (502) 625-0905 Fax: (502) 625-0940
                                                                             Bankruptcy@Bankruptcy-Divorce.com
                                                                             Name of law firm




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                  Case 23-31549-jal                    Doc 1        Filed 07/04/23      Entered 07/04/23 13:22:56      Page 31 of 34
                                                                   United States Bankruptcy Court
                                                            Western District of Kentucky, Louisville Division

       IN RE:                                                                                              Case No.
       Kneeworx Medical Services LLC                                                                       Chapter 7
                                                              Debtor(s)

                                                              VERIFICATION OF CREDITOR MATRIX
       The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



       Date: June 30, 2023                                    Signature: /s/ Maceo Camillo Ramon Jourdan
                                                                           Maceo Camillo Ramon Jourdan, President                        Debtor



       Date:                                                  Signature:
                                                                                                                             Joint Debtor, if any




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Case 23-31549-jal   Doc 1   Filed 07/04/23   Entered 07/04/23 13:22:56   Page 32 of 34




      Audrey Burton
      7310 Hibernia Rd
      Charlestown, IN 47111-9489


      Bioventus
      4721 Emperor Blvd Ste 100
      Durham, NC 27703-8580


      Capital Solutions Bancorp
      12761 World Plaza Ln
      Ft. Meyers, FL 33907


      Charity Sharp
      3161 Taylor Dr
      Clarksville, IN        47129-1438


      Chase
      P.O. Box 6294
      Carol Stream, IL        60197


      Galpern and Hobbs LLC
      3012 Eastpoint Pkwy
      Louisville, KY 40223-4185


      Greenberg, Grant & Richards, Inc.
      5858 Westheimer Rd Ste 500
      Houston, TX 77057-5645
Case 23-31549-jal   Doc 1   Filed 07/04/23   Entered 07/04/23 13:22:56   Page 33 of 34




      Iheart Media
      20880 Stone Oak Pkwy
      San Antonio, TX 78258-7460


      Kimberly Edwards
      11709 Cortner Rd
      Marysville, IN 47141-9675


      McKesson Medical
      2 National Data Plaza NE, 3rd Floor
      Atlanta, GA 30329


      Medline
      3 Lakes Dr
      Northfield, IL        60093-2753


      North Star Leasing
      P.O. Box 4505
      Burlington, VT 05406


      Spectrum
      300 S. Tryon Street Suite 200
      Charlotte, NC 28202


      Susan Scuffle
      206 Beechwood Cir
      Mount Washington, KY         40047-7250
Case 23-31549-jal   Doc 1   Filed 07/04/23   Entered 07/04/23 13:22:56   Page 34 of 34




      The Five Star Group
      10403 Coachouse Pl
      Louisville, KY 40223-3439


      Thomas G. Yancey
      Mayo-Underwood Building
      500 Mero St Ste 3
      Frankfort, KY 40601-1957


      US Bank
      P.O. Box 790408
      St. Louis, MO 63179
